8:12-cr-00311-JFB-MDN        Doc # 750   Filed: 04/23/15   Page 1 of 2 - Page ID # 1770




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                                8:12CR311

      vs.
                                                    MEMORANDUM AND ORDER
THOMAS LAYMAN,

                    Defendant.


      This matter is before the court on the defendant's unopposed motion for a

sentence reduction, Filing No. 748. This is a motion filed pursuant to Amendment 782

to the United States Sentencing Guidelines, (sometimes called the “drugs minus two” or

the “2014 drug guidelines amendment”) which reduces offense levels assigned in the

Drug Quantity Table by two levels, resulting in lower guideline ranges for many drug

trafficking offenses. See U.S.S.G. § 1B1.10(d) & (e)(1) (Nov. 1, 2014). The Sentencing

Commission has given retroactive effect to the amendment.        Id., U.S.S.G., App. C

(Supp.), amendment 788 at 87-88.

      The parties stipulate that that the retroactive amendment to the drug quantity

table changes the total adjusted offense level in the defendant's case from 25 to 23 and

the defendant's guideline range from 63 to 78 months to 51 to 63 months imprisonment.

Filing No. 749, Stipulation.     The government and the defense agree that the new

reduced sentence under the amended guidelines should be 51 months based on the

prior computation of specific offense characteristics, adjustments, and any departures.

Id. The parties further agree that the defendant may be re-sentenced without being
8:12-cr-00311-JFB-MDN       Doc # 750       Filed: 04/23/15   Page 2 of 2 - Page ID # 1771




present and without further notice and that any supervised release should be the same

term and conditions as originally decided. Id.

      In consideration of the factors set out in 18 U.S.C. § 3553(a), the court finds that

a sentence reduction will satisfy the goals of sentencing in this case. The court has

considered the nature and circumstances of the offense, the characteristics of the

offender, public safety, deterrence, and the sentencing guidelines in making this

decision.   In connection with public safety, the court has reviewed the defendant's

record while in prison and considered whether a reduction in defendant's sentence

poses a danger to any person or to the community.

      The record shows that the defendant is eligible for a 12 month reduction in

sentence, resulting in a new sentence of 51 months. See Filing No. 721, Retroactive

Sentencing Worksheet (restricted). Accordingly, it is hereby ordered that:

      1.      The defendant's unopposed motion for a sentence reduction (Filing No.

748) is hereby granted.

      2.      The parties’ stipulation regarding sentence reduction (Filing No. 749) is

approved.

      3.      An Order Regarding Motion For Sentence Reduction Pursuant To 18

U.S.C. § 3582(C)(2) will issue this date, effective November 2, 2015.

      Dated this 23rd day of April, 2015.

                                                  BY THE COURT:
                                                  s/ Joseph F. Bataillon
                                                  Senior United States District Judge




                                              2
